                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MICHAEL MILLER,                  :
                       Plaintiff :                No. 1:24-CV-00014
                                 :
              v.                 :                Magistrate Judge Schwab
                                 :
COUNTY OF LANCASTER and          :                Electronically Filed Document
OFFICE OF OPEN RECORDS,          :
                    Defendants :                  Complaint Filed 01/04/24

                  DEFENDANT’S BRIEF IN SUPPORT OF ITS
                   MOTION TO DISMISS THE COMPLAINT
      Defendant the Pennsylvania Office of Open Records (“OOR” or “Office of

Open Records”), through counsel, hereby files this Brief in Support of its Motion to

Dismiss the Complaint (Doc. 1), with prejudice, pursuant to Local Rule 7.5.

      The Complaint must be dismissed with prejudice because (1) this Court lacks

jurisdiction over Pennsylvania Right to Know Law (RTKL) claims and appeals

thereof, (2) the OOR is not a “person” for Section 1983 actions and Section 1983 is

not the proper procedural vehicle to assert state law claims, (3) Plaintiff failed to state

a First Amendment freedom of speech claim, (4) all substantive due process claims

are barred by the more specific provision rule and Plaintiff’s exhibits illustrate that he

received sufficient due process on all RTKL appeals, (5) the Complaint is devoid of

any fact to illustrate that Plaintiff is a member of a protected class or that he was

treated differently from similarly situated individuals, and (6) Plaintiff’s hypothetical
questions posed to the court fail to state a claim and seek an improper advisory

opinion.

I.    STATEMENT OF ALLEGED FACTS & PROCEDURAL HISTORY

      Pro se Plaintiff Miller filed his Complaint on January 4, 2024, allegedly and

solely pursuant to this Court’s federal question jurisdiction. (Doc. 1 at ¶¶ 2 (citing 28

U.S.C. § 1331), 3 (citing to 28 U.S.C. § 1342(a)(3) only).) In so doing, Plaintiff

brings suit against Lancaster County and the Pennsylvania Office of Open Records

(“OOR” or “Office of Open Records”) and essentially claims that both Defendants

allegedly violated the RTKL by denying his three RTKL Requests, and subsequent

appeals, which included not giving him full-unfettered access to ballots from the May

2022 election in Lancaster County, Pennsylvania. (See gen. id.) Plaintiff attached

twenty-one (21) exhibits, which span approximately one-hundred and fifty-one pages,

to his Complaint. (See Doc. 1-2 (exhibit table of contents at ECF pg. 2).)

      In sum, Plaintiff poses several hypothetical questions to the Court under a self-

titled section “Petition for Review.”1 (Id. at ¶¶ 74-96.) For relief, Plaintiff seeks


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       Plaintiff includes several “questions” that are not asserted against the OOR but,
rather, appear to be asking this Court to make determinations as to whether various
Pennsylvania Courts’, that are non-parties to this case, actions in ruling upon civil
appeals and cases filed by Plaintiff provided him with sufficient process or were
otherwise proper under the law. (Doc. 1 at ¶¶ 85, 86, 93, 94, 95.) As these
“questions” are lodged against non-parties and not the OOR, the OOR does not
address them. To the extent the Court would deem additional briefing on these issues
to be pertinent from the OOR, Defendant OOR would request the opportunity to
submit supplemental briefing.

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miscellaneous forms of declaratory relief and requests that this Court hold that the

Pennsylvania RTKL is invalid and enjoin further application of the RTKL. (Id. at

ECF pg. 22.)

      Defendant Lancaster County moved to dismiss the Complaint and filed its

supporting brief. (Docs. 8, 17.)

      On January 11, 2024, Defendant OOR was served with a copy of the

Complaint. (Doc. 6.)      Undersigned Counsel received referral to represent the

Defendant on February 1, 2024, and filed her entry of appearance and motion for

extension of time to respond to the complaint that same day—the day in which

Defendant’s responsive pleading to the Complaint was due. (See Docs. 9, 10.)

Plaintiff then filed for, and the Clerk entered, the entry of default against the OOR on

February 5, 2024. (Docs. 11-12.) The OOR filed its Motion to Set Aside Default,

with supporting brief on February 9, 2024. (Docs. 14-15.) Plaintiff filed his Motion

to Enter Default Judgment against OOR, with a supporting brief, on February 17,

2024. (Docs. 20, 20-1.) OOR intends to vigorously defend against this action and

will file a brief in opposition to that Motion in accordance with Local Rule 7.6.

      The OOR filed its Motion to Dismiss this matter on February 9, 2024, and now

files this brief in support of its Motion in accordance with Local Rule 7.5. (Doc. 16.)




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II.   ISSUES PRESENTED

      A.    Whether this Court lacks subject matter jurisdiction over this
            matter because federal courts lack said jurisdiction over
            Pennsylvania RTKL claims?
      B.    Whether all claims must be dismissed against OOR because it
            is not a “person” subject to suit under Section 1983 and Section
            1983 is not the proper procedural vehicle to bring state statutory
            claims?

      C.    Whether the Complaint fails to state a First Amendment
            freedom of speech claim because Plaintiff has no constitutional
            right to an unfettered right to access government information
            and his disagreement on the administrative procedures to
            review confidential ballot information does not create a
            constitutional right?

      D.    Whether the Complaint fails to state a due process claim
            because (1) the explicit source rule bars any substantive due
            process claim and (2) Plaintiff received sufficient due process
            on all of his RTKL appeals to OOR?

      E.    Whether the Complaint fails to state an equal protection claim
            because there are no allegations that Plaintiff is a member of a
            protected class or that he was allegedly treated differently from
            a similarly situated individual?

      F.    Whether the presented hypothetical claims within the
            Complaint must be dismissed because they are non-justiciable
            and seek an advisory opinion and fail to state a claim?

      Suggested Answer to All: Yes.




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III.   ARGUMENTS

                              STANDARD OF REVIEW

       A claim will be dismissed under Fed. R. Civ. P. 12(b)(6) where the plaintiff has

“failed to state a claim upon which relief may be granted.”         See Fed. R. Civ.

P. 12(b)(6). Where a plaintiff attaches exhibits to his complaint, the court may

properly consider those exhibits when resolving a motion to dismiss.               See

Vorchheimer v. Philadelphian Owners Assoc., 903 F.3d 100, 111-112 (3d Cir. 2018).

Moreover, where a plaintiff’s attached exhibits contradict his own complaint

allegations, the exhibits control. Id. at 112.

       A.    This Court Lacks Subject Matter Jurisdiction Over RTKL Appeals
             From OOR Decisions
       This Court has repeatedly held that Pennsylvania RTKL claims do not create

federal constitutional claims. See Breslin v. Portillo, 2018 WL 4002858, at *4 (M.D.

Pa. Aug. 22, 2018); see also Ledcke v. Pa. Dep’t of Corrs., 2012 WL 716052, at *5

(M.D. Pa. Feb. 3, 2012) (Carlson, J.), R&R adopted, 2012 WL 718591 (M.D. Pa.

March 5, 2012) (Jones, J.). In fact, the exclusive remedy for a party’s disagreements

with denials or responses to their RTKL requests is via an appeal through the

Pennsylvania state courts. See Ledcke, 2012 WL 716052, at *5 (citations omitted).

       In this case, it is apparent that Plaintiff filed several Pennsylvania RTKL

requests with Lancaster County, who subsequently provided responses to those

requests. (Doc. 1 at ¶¶ 24, 28, 32, 43, 45, 52, 55, 57, 64.) Plaintiff then decided to

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pursue or not to pursue appeals of those responses with the OOR, within a County

Court of Common Pleas, and, for at least two responses, appealed to the Pennsylvania

Commonwealth Court.2 Any lingering and festering disagreement Plaintiff may hold

for the initial RTKL request responses or the OOR’s decisions regarding his

subsequent appeals of those requests lies solely within the state statutory remedies

provided by the Pennsylvania General Assembly. For these reasons alone, this Court

can, and should, rebuff Plaintiff’s improper attempt to forum shop within the federal

court system wherein he attempts to race ahead of the several ongoing

Commonwealth Court appeals to circumvent that available state statutory remedy

because it lacks jurisdiction to entertain such claims. All claims should be dismissed

with prejudice as any amendment on this issue would be futile.

      B.    OOR Is Not A “Person” For Purposes Of Section 1983 Actions &
            Plaintiffs Cannot Assert State Law Claims Under Section 1983
      Generally, in order to bring a claim under 42 U.S.C. § 1983, a claimant must

establish that (1) the conduct complained of deprived him of rights, privileges, and

immunities secured by the Constitution or laws of the United States; and (2) the

conduct was committed by a person acting under color of state law. See Kost v.

Kozakiewicz, 1 F.3d 176, 184 (3d Cir. 1993). It is well-established, however, that


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      (See Doc. 1 at ¶¶ ECF pg. 7 (referencing two ongoing Pennsylvania
Commonwealth Court cases numbers 595 CD 2022 and 596 CD 2023), 41, 41(e),
41(h), 42, 53 (Miller did not appeal), 54 (references ongoing Pennsylvania
Commonwealth Court appeal at docket number 57 CD 2023), 65-66, 72.)

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states cannot be held liable under Section 1983 because they are not deemed to be

“persons” under this statute. Blanciak v. Allegheny Ludlum Corp., 77 F.3d 690, 697

(3d Cir. 1996).    OOR is a Commonwealth agency created by the Pennsylvania

General Assembly. See 65 P.S. § 67.1310.

       In this case, the OOR is not a “person” under Section 1983, and, therefore,

cannot be sued under this statute. The Office of Open Records is a governmental

agency created by the Pennsylvania General Assembly, and is, therefore, a part of the

Pennsylvania state government, as also admitted by Plaintiff within his Complaint.

See 65 P.S. § 67.1310; see also Doc. 1 at ¶ 12. As such, the OOR is not a “person” as

defined by Section 1983, and, for that reason, cannot be held liable under the statute.

All Section 1983 claims asserted against the OOR must, therefore, be dismissed with

prejudice.

       Secondly, in order “[t]o state a claim for relief in an action brought under

§ 1983, [plaintiffs] must establish that they were deprived of a right secured by the

Constitution or laws of the United States, and that the alleged deprivation was

committed under color of state law.” Am. Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S.

40, 49 (1999); see also Ledcke, 2012 WL 716052, at *5 (Right to Know Law Claims

are not cognizable under Section 1983); see also 42 U.S.C. § 1983. Stated simply,

Section 1983 cannot be used as a procedural vehicle to assert claims pursuant to state

statutes.    See gen. id.   Plaintiff’s attempts to assert claims for alleged state


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constitution and state statute violations pursuant to Section 1983 fail, outright, as a

matter of law.

      As the OOR is not a “person” under Section 1983, and as Section 1983 is not a

proper procedural vehicle to assert claims under state law, Plaintiff failed to state a

claim against the OOR. This Court must, therefore, dismiss all claims against the

OOR with prejudice as any amendment would not cure this fatality.

      C.    Plaintiff Has No Constitutional Right To An Unfettered Right To
            Access Government Information And His Disagreement On The
            Administrative Procedures To Review Confidential Ballot
            Information Does Not Create A Constitutional Right
       “There is no constitutional right to have access to particular government

information, or to require openness from the bureaucracy.” See Houchins v. KQED,

Inc., 438 U.S. 1, 14-15 (1978). Further, “[t]here is no constitutional right to have

access to particular government information, or to require openness from the

bureaucracy.” Id.

      Stated simply, “[t]he Constitution itself is neither a Freedom of Information

Act nor an Official Secrets Act.”        Id.       “Neither the First Amendment nor the

Fourteenth Amendment mandates a right of access to government information or

sources of information within the government’s control[]. Id. Rather, the Supreme

Court has clearly decided that no individual has any constitutional right to any

particular government information. Id.




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      In this case, Plaintiff essentially claims that he has a First Amendment freedom

of speech (or expression) right to unfettered access to voter ballots, that contain

personal voters identifying information and secret ballots for their chosen candidates.

(Doc. 1, generally.) Plaintiff is wrong. Plaintiff has no First Amendment right to

unrestricted access to election information held to protect both the privacy of each

individual voting citizen but to also to maintain the integrity of each ballot cast. The

Complaint, therefore, fails to state a First Amendment claim.

      Even so, a thorough review of the documents attached to the Complaint

clearly, objectively, and unequivocally illustrate that Plaintiff was, in fact, given

access to the information that he claims to have been denied. (Doc. 1-1 at 9-19,

20-21 (emphasis added).)      A plain-reading of those documents illustrates that

Plaintiff need only comply with mere administrative and procedural items that are

strictly in place, in accordance with the Pennsylvania Election Code, to preserve the

confidentiality and integrity of voter information and ballots cast, in order for him to

access the items he requested to review.

      Stated simply, Plaintiff failed to plead any fact to establish that he was denied

the opportunity to speak—rather, he pleads himself out of court by attaching one-

hundred and fifty-one pages illustrating that he has the ability to access these records

and he merely disagrees over the procedure in place to review them.            For this




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additional reason, this Court should dismiss with prejudice Plaintiff’s Complaint for

the failure to state a claim.

       D.     The More Specific Provision Rule Bars Any Substantive Due
              Process Claim & Plaintiff Received Sufficient Due Process
       To the extent that Plaintiff asserts Fourteenth Amendment substantive due

process and procedural due process claims with respect to the OOR’s quasi-judicial

review of Lancaster County’s responses to his RTKL requests, such claims fail as a

matter of law because (1) all substantive due process claims are barred by the more

specific provision rule and (2) even assuming Plaintiff has a protected property and

or liberty interest in ballot information for this Motion only, Plaintiff received

sufficient due process.

                     i. All Substantive Due Process Claims Are Barred By
                        The More Specific Provision Rule

       It is well-established that Fourteenth Amendment substantive due process

claims are unavailable where the claim is better analyzed under the more specific

constitutional amendment applicable to the facts alleged. See Betts v. New Castle

Youth Dev. Ctr., 621 F.3d 249, 260 (3d Cir. 2010)

       Here, to the extent Plaintiff asserts a substantive due process claim against

Defendants; such claim is barred by the More Specific Provision rule and it must be

dismissed with prejudice.




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                   ii. Plaintiff Received Sufficient Due Process
      The Due Process Clause of the Fourteenth Amendment provides that no state

shall “deprive any person of life, liberty, or property, without due process of law.”

U.S. Const. amend. XIV. In order to bring a Procedural Due Process claim, a

plaintiff must establish: (1) that the state interfered with a life, liberty, or property

interest; and (2) the procedural procedures were insufficient to protect his

constitutional rights. Commonwealth v. Turner, 80 A.3d 754, 764 (Pa. 2013).

      Here, Plaintiff broadly asserts that he is asserting a “due process” claim. (Doc.

1 at ECF pg. 4.) Plain review of the factual averments within his Complaint as well

as a thorough review of the many exhibits attached thereto illustrate that Plaintiff had

every opportunity to be heard by the OOR and make his arguments on appeal before

the OOR. (Doc. 1 at ¶¶ 28, 32, 45, 52, 57, 64; Doc. 1-1 at 9-19 (OOR Final

Determination),    53-61    (OOR     Final        Determination),   76-80   (OOR   Final

Determination).)

      Any further disagreement that Plaintiff has with the evidentiary rules and

standard of review of the OOR does not cause a due process issue. As described by

the OOR within its Final Determination in response to Plaintiff’s evidentiary

objections,3 “under the RTKL, a sworn affidavit or statement made under the penalty

of perjury may serve as sufficient evidentiary support and the OOR accepts both as


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      (Doc. 1-1 at Ex. 18, at ECF pgs. 97-98, 100-101.)

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evidence.” (Doc. 1-1 at ECF pg. 97 (citing Sherry v. Rdanor Twp. Sch. Dist., 20 A.3d

515, 520-21 (Pa. Commw. Ct. 2011), and Moore v. Office of Open Records, 992 A.2d

907, 909 (Pa. Commw. Ct. 2010)).) Any objection that Plaintiff has with any OOR

Final Determination must be preserved within the State statutory system in place

which, as described in Section A above, divests this Court of jurisdiction over this

matter. All due process claims must, therefore, be dismissed for failure to state a

claim.

         E.    Plaintiff Failed To State Sufficient Facts To Establish He Is
               Allegedly A Member Of A Protected Class Or That He Was Treated
               Differently From Similarly Situated Individuals
         The Equal Protection Clause provides that “[n]o State shall . . . deny to any

person within its jurisdiction the equal protection of the laws.”         U.S. Const.

amend. XIV. Equal Protection does not require that all persons be treated alike;

instead, a plaintiff must show that the differential treatment from those similarly

situated was unreasonable or involved a fundamental interest or individual

discrimination. Tigner v. Texas, 310 U.S. 141, 147 (1940).

         A plaintiff “cannot use allegations . . . that amount to nothing more than

‘conclusory, boilerplate language’ to show that he may be entitled to relief,” and a

bald assertion that other individuals were treated differently will not survive

dismissal. Young v. New Sewickley Twp., 160 F. App’x 263, 266 (3d Cir. 2005). A

plaintiff must identify similarly situated individuals and allege “occasions or



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circumstances” of differential treatment.        Id.   Plaintiffs must identify similarly

situated individuals and allege “occasions or circumstances” of differential treatment.

Id.; see also Twombly, 550 U.S. at 563.

      Here, within his “purpose” paragraph, Plaintiff blanketly states that he is

seeking a declaration that his equal protection rights were violated. (Doc. 1 at ECF

pg. 4.) In so doing, however, the Complaint is wholly devoid of a single averment to

allegedly establish that he was either a member of a protected class or that he was

treated differently from other similarly situated individuals. (See gen. id.) As such,

Plaintiff failed to state an equal protection claim.

      F.     Plaintiff’s List Of Hypothetical Questions Presented Within The
             Complaint Must Be Dismissed Because They Seek Non-Justiciable
             Advisory Opinions & Fail To Adhere To Rules 8(a), Rule 10, and
             Rule 12(b)(6) of the Federal Rules of Civil Procedure
      Plaintiff also poses a laundry list of twenty-three hypothetical questions to the

Court to purportedly answer within his Complaint. (Doc. 1 at ¶¶ 74-96.) These

questions, to the extent the Court construes them as individual claims, are completely

undeveloped, conclusory, and lack even a bare recitation of the elements, and should,

therefore, be disregarded by this Court as failing to state a claim because mere legal

conclusions are not entitled to truth at this stage and they fail to meet the

requirements of Rules 8(a), 10, and 12(b)(6) of the Federal Rules of Civil Procedure.

Connelly v. Lane Const. Corp., 809 F.3d 780, 787 (3d Cir. 2016).




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      Additionally, many of these questions, if not all, seek advisory opinions by

which the Complaint does not establish an active case or controversy relevant to

those questions within the four-corners of the document. (See gen. Doc. 1 ¶¶ 74-96.)

As such, this Court, respectfully, lacks the jurisdiction to review such advisory

opinions. For this additional reason, this Court should dismiss the Complaint.

IV.   CONCLUSION

      Defendant OOR requests that this Court grant its Motion and dismiss the

Complaint with prejudice.




                                              Respectfully submitted,

                                              MICHELLE A. HENRY
                                              Attorney General

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                                            Records

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               IN THE UNITED STATES DISTRICT COURT
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                        CERTIFICATE OF SERVICE
      I, Mary Katherine Yarish, Deputy Attorney General for the Commonwealth

of Pennsylvania, Office of Attorney General, hereby certify that on February 24,

2024, I caused to be served a true and correct copy of the foregoing document

titled Defendant’s Brief in Support of its Motion to Dismiss the Complaint to the

following:

VIA ECF

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                                            s/ Mary Katherine Yarish
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